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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS


HAWK TECHNOLOGY SYSTEMS, LLC,                  )
                                               )
       Plaintiff,                              )   Case No: 1:14-cv-05531
                                               )
v.                                             )
                                               )
DEPAUL UNIVERSITY,                             )
                                               )
       Defendant.                              )
                                               )

                            NOTICE OF SETTLEMENT AND
                    REQUEST FOR EXTENSION OF PENDING DEADLINES

       Plaintiff, Hawk Technology Systems, LLC, and Defendant, DePaul University, have

agreed to the material terms of a settlement. The parties accordingly request an extension of

pending deadlines to allow them to prepare and execute a formal settlement agreement up to and

including November 6, 2014.

       Dated: October 7, 2014

                                           Respectfully submitted,

                                           SCHULZ LAW, P.C.

                                           By: /s/ Mary K. Schulz
                                           Mary K. Schulz, Esq.
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                                           Attorneys for Plaintiff




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                                CERTIFICATE OF SERVICE

            I hereby certify that on October 7, 2014 I electronically filed the foregoing document
with the Clerk of the Court using CM/ECF and that service was perfected on all counsel of
record and interested parties through this system.
                                                     /s/ Mary K. Schulz
                                                     Mary K. Schulz, Esq.




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